

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. WR-75,591-01, 02 and 03






EX PARTE TENESIA SHANNETTE BAILEY, Applicant









ON APPLICATIONS FOR A WRIT OF HABEAS CORPUS

CAUSE NOS. W05-53405-P(A), W05-53406-P(A) and W05-53407-P(A) IN THE
203rd DISTRICT COURT

FROM DALLAS COUNTY





	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for a writ of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery, two aggravated kidnappings and sentenced to eight  years' imprisonment in each cause.   

	Applicant contends, inter alia, that her counsel rendered ineffective assistance because 
counsel failed to timely file notices of appeal.  The trial court has entered findings of fact and
conclusions of law recommending that Applicant be granted out-of-time appeals.  However, we
believe the record has not been sufficiently developed so that we can adequately address Applicant's
claim.    

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).   In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide counsel with the opportunity to respond to Applicant's claim of ineffective assistance
of counsel on appeal.  The trial court may use any means set out in Tex. Code Crim. Proc. art.
11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, and the Applicant no longer represented by counsel (1),
it shall determine whether Applicant is indigent. If Applicant is indigent and wishes to be represented
by counsel, the trial court shall appoint an attorney to represent Applicant at the hearing.  Tex. Code
Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant was denied her right to a
meaningful appeal because Applicant's counsel failed to timely file a notice of appeal.  The trial
court shall also make any other findings of fact and conclusions of law that it deems relevant and
appropriate to the disposition of Applicant's claim for habeas corpus relief.

	These applications will be held in abeyance until the trial court has resolved the fact issues. 
The issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of
the order granting the continuance shall be sent to this Court.  A supplemental transcript containing
all affidavits and interrogatories or the transcription of the court reporter's notes from any hearing
or deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 

Filed: April 6, 2011

Do not publish

1.  The record indicates that Applicant is currently represented by counsel.

